Case 18-55697-lrc   Doc 303   Filed 08/26/20 Entered 08/26/20 17:35:01   Desc Main
                              Document     Page 1 of 6
Case 18-55697-lrc   Doc 303   Filed 08/26/20 Entered 08/26/20 17:35:01   Desc Main
                              Document     Page 2 of 6
Case 18-55697-lrc   Doc 303   Filed 08/26/20 Entered 08/26/20 17:35:01   Desc Main
                              Document     Page 3 of 6
Case 18-55697-lrc   Doc 303   Filed 08/26/20 Entered 08/26/20 17:35:01   Desc Main
                              Document     Page 4 of 6
Case 18-55697-lrc   Doc 303   Filed 08/26/20 Entered 08/26/20 17:35:01   Desc Main
                              Document     Page 5 of 6
Case 18-55697-lrc   Doc 303   Filed 08/26/20 Entered 08/26/20 17:35:01   Desc Main
                              Document     Page 6 of 6
